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           EXHIBIT 7
                   Case 1:21-cv-03354-BAH Document 56-8 Filed 05/08/23 Page 2 of 3
Date:              Wed, 2 Dec 2020 9:43 :50 PM (UTC)
Subject:           GA Witness List & Affidavits
From :             Christina Bobb <christina@cgbstrategies.com >
                   Rudy Giuliani <rhelen0528@gmail.com>; Boris Epshteyn <bepshteyn@donaldtrump.com >; Jenna Ellis
To:                <jenna.ellis.esq@gmail.com >; Bernie Kerik <private@bernardkerik.com >; Katherine Friess
                   <kfriess@protonmail .com >;
CC:                mirnatarraf@hotmail .com ;
Attachments: Dana Smith Affidavit .pdf; Susan Voyles Affidavit .pdf; Bridget Thorne Affidavit .pdf; Mark Amick Affidavit-day
             access.pdf; Mark Amick Affidavit-recount .pdf; Mark Amick Affidavit-tabulation process .pdf; Scott Walter.pdf

Good afternoon, Team,
Here' s the witnesses and affidavits for tomorrow' s meeting in GA. Let me know if you have questions .
Respectfully,
Christina

619.977.8100


From: "Ray S. Smith, Ill" <rsmith@smithliss.com >
Date: Wednesday, December 2, 2020 at 4:40 PM
To: Christina Bobb <christina@cgbstrategies.com >
Subject: Witness List


As discussed, here are the witnesses that are trying to get for tomorrow.
-Suzie Voyles
-Bridget Thorne
-Mark Amick
-Dana Smith

These people all show different violations and have different stories to tell so we can have a wide array of witnesses.



   Does not pertain to alleged election fraud occurring at the State Farm Arena.

Ray S. Smith Ill
Partner

SMITH & LISS, LLC
Five Concourse Parkway
Suite 2600
Atlanta, Georgia 30328
Direct: (404)760.6006
Main: (404) 760.6000
Facsimile: (404) 760.0225
rsmith@smithliss.com

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